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                                                       UNITED STATES DISTRICT COURT
             9
                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10
                                                              SAN FRANCISCO DIVISION
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                 BMA LLC, Yaroslav Kolchin, Vitaly                                 Case No. 3:20-cv-3345-WHO
           13    Dubinin, Dmitry Dolgov and Păun Gabriel-
                 Razvan,
           14                                                                      ADMINISTRATIVE MOTION FOR
                                                                                   LEAVE TO FILE SUPPLEMENTAL
           15                             Plaintiffs,                              BRIEF IN OPPOSITION TO
                                                                                   DEFENDANTS’ MOTION TO DISMISS
           16                                                                      CONSOLIDATED COMPLAINT
                                                                                   REQUESTING LEAVE TO AMEND
           17                     v.
           18                                                                      Hon. William H. Orrick
                                                                                   Date: February 3, 2021
           19    HDR Global Trading Limited (A.K.A.                                Time: 2:00 PM
                 BitMEX), ABS Global Trading Limited,                              Crtrm.: 2, 17th Floor
           20    Grape Park LLC, Mark Sweep LLC,
                 Unknown Exchange, Arthur Hayes, Ben Delo,
           21    Samuel Reed, Agata Maria Reed (A.K.A.                             Discovery Cutoff: None Set
                 Agata Maria Kasza), Barbara A. Reed and                           Pretrial Conference Date: None Set
           22    Trace L. Reed,                                                    Trial Date: None Set
           23
                                          Defendants.
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  ATTORNEYS            PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF   -1-    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
             1   I.      LEAVE TO FILE SUPPLEMENTAL BRIEF IN OPPOSITION TO
             2   DEFENDANTS’ MOTION TO DISMISS CONSOLIDATED COMPLAINT
             3   REQUESTING LEAVE TO AMEND SHOULD BE GRANTED
             4           In line with Court’s comments made during the February 3, 2021, hearing on the Defend-
             5   ants’ Motion to Dismiss, Plaintiffs seek to file a Supplemental Brief attached to this motion as
             6   Exhibit, informing the Court that Plaintiffs are in a process of developing new facts directly link-
             7   ing Defendants with the manipulative acts alleged in the Consolidated Complaint and resulting in
             8   Plaintiffs’ losses and requesting a leave to amend the Consolidated Complaint.
             9           Specifically, during said motion hearing, the Court inquired from both sides whether there
           10    is evidence that could be added to Consolidated Complaint to bolster casual connection between
           11    Defendants’ actions and Plaintiffs’ losses. After consideration based on Court’s guidance, Plain-
           12    tiffs expect that such new factual evidence will come into Plaintiffs’ possession within 14 days, as
           13    described in the attached Supplemental Brief In Opposition To Defendants’ Motion To Dismiss
           14    Consolidated Complaint Requesting Leave To Amend. Accordingly, Plaintiffs respectfully re-
           15    quest the Court to grant Plaintiffs’ Motion for Leave To File Supplemental Brief In Opposition
           16    To Defendants’ Motion To Dismiss Consolidated Complaint Requesting Leave To Amend.
           17    II.     CONCLUSION
           18            For these reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’ Motion for
           19    Leave To File Supplemental Brief In Opposition To Defendants’ Motion To Dismiss Consolidat-
           20    ed Complaint Requesting Leave To Amend.
           21    Dated: February 4, 2021                                               Respectfully submitted,
           22                                                                          By:        /s/ Pavel I. Pogodin
                                                                                                  Pavel I. Pogodin
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                                                                                       CONSENSUS LAW
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                                                                                       Pavel I. Pogodin, Ph.D., Esq.
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  ATTORNEYS            PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF   -2-         BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
